                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

WILLIAM MARINESE, et al.,
          Plaintiff,
                                          Case Number 1:10-cv-00008-JWS
v.

UNITED STATES OF AMERICA,
          Defendant.                      JUDGMENT IN A CIVIL CASE


   JURY VERDICT. This action came before the court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.


XX DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

           IT IS ORDERED AND ADJUDGED:

        THAT defendant's Motion to Dismiss at docket 22 is GRANTED
and plaintiffs' Motion to Certify Question to the Supreme Court of
Alaska at docket 31 is DENIED.


APPROVED:


     s/JOHN W. SEDWICK
 United States District Judge

 Date: March 8, 2013
 N OTE : Award of prejudgment interest,     MARVEL HANSBRAUGH
 costs and attorney's fees are governed         Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                Clerk of Court




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